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                          UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

In re:
                                                          Case No. 15-12640(MSH)
ROMULO RODRIGUES-AGUTAR                                   Chapter 7

                                  Debtor


              CHAPTER 7 TRUSTEE'S MOTION TO APPROVE SETTLEMENT

To the Honorable Melvin S. Hoffman, United States Bankruptcy Judge:

         Pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure and MLBR 9019-1,

John O. Desmond, Chapter 7 Trustee of Romulo Rodrigues-Aguiar (the "Trustee") moves this

Court to approve the Settlement Stipulation, attached as Exhibit A, between the Trustee on the

one hand and Keila Maria Rodriguez("Rodriguez") on the other hand. The compromise

proposed in the attached Settlement Stipulation resolves all claims pending among the Trustee

and Rodriguez, and will end all pending litigation, including an appeal pending at the

Bankruptcy Appellate Panel for the First Circuit (Docket No. 17-23, the "BAP Appeal").

         As grounds for this Motion, the Trustee states as follows:

                On July 2, 2015 Debtor Romulo Rodrigues-Aguiar (the "Debtor") filed a

voluntazy petition for relief pursuant to Chapter 7 of the Bankruptcy Code. Subsequently, on

July 3, 2015, the Plaintiff was appointed the Chapter's successor Chapter 7 Trustee.

         2.     Based on his investigation, the Trustee determined that the Debtor and Rodriguez

(and another individual named Yuridania Suero) entered into a Business Purchase Agreement,

whereby the Debtor sold, and Rodrigues purchased, the assets and stock of Supreme Cars, Inc.,

which owned and operated a caz dealership.
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        3.     The Trustee, through his investigation has determined that Rodriguez and Suero

breached their obligations to the Debtor under the Asset Purchase Agreement, an assertion which

Rodriguez contests. Rodriguez,for her part, has filed a proof of claim, subsequently amended in

the Debtor's bankruptcy.

       4.      Rodriguez's proofs of claim, both initial and as amended, were denied by the

Estate which was affirmed by the Bankruptcy Court. As a result, Rodriguez has appealed the

decision of the Bankruptcy Court, which forms the subject matter of the BAP Appeal.

       5.      Under the terms of the attached Settlement Stipulation, the Trustee and Rodriguez

agree to waive and release any claims that each was against the other, and Rodriguez assigns to

the estate certain claims that she may possess. As pazt of the Settlement Stipulation, the BAP

Appeal is to be dismissed.

       6.      This settlement is subject to and conditioned upon its approval by the Court and

shall be deemed null and void and of no effect if the settlement is not approved.

       7.      Fed. R. Bank. P. 9019 empowers the Bankruptcy Court to approve compromises

and settlements if they aze in the best interest of the Estate. When assessing a compromise or

settlement, however, the Bankruptcy Court is not required to determine rule upon every disputed

fact and question of law "but rather to canvass the issues and see whether settlement falls)

below the lowest point of the range of reasonableness." Hicks, Muse & Co. v. Brandt(In Re:

Healthco International, Inc.), 136 Fad 45, 51 (ls` Cir. 1998), quoting Cosoff v. Rodman (In Re:

W.T. Grant Co.), 699 F. 2d 608 (2d Cir. 1983).

       8.     In addition, the Bankruptcy Court is required to "assess[ and balance the value of

the claim ... being compromised against the value ... of the compromised proposal." Jeffry v.

Desmond,70 Fad 183, 185 (ls` Cir. 1985). In making that determination, the First Circuit has




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identified the following factors that a Bankruptcy Court may consider in determining whether to

approve a settlement:

                   a. The probability of success where the claim to be litigated;

                   b. The interest of the creditors and the proper defense to their reasonable

                        views;

                   c. The difficulties, if any collecting on a judgment;

                   d. The experience and competence of the fiduciary proposing the settlement;

                        and

                   e. The complexity of the litigation involved, the expense, inconvenience and

                        delay attending it. See In Re Healthco International. Inc., 136 Fad at 50;

                        Jeffrey, 70~'.3d at 185.

        9.     Following approval and implementation of the settlement, all claims between and

among the Trustee and Rodriguez shall be fully and finally resolved, with Rodriguez retaining

certain contingent interests in the asserted claims from recovery by the Trustee and with

Rodrigues providing the Trustee with additional Assignments and documents and assigns as may

required by the Trustee to effectuate the terms of the settlement; including but not limited to (1)

assignment of all affirmative claims or proceeds therefrom of Supreme pursuant to Rodriguez's

authority Supreme's and/or a majority president and shareholder;(2)rights on behalf of

Rodriguez to make claims against Danilo Brack including for malpractice;(3) all claims that

Supreme may asset for usury; and (4) claims against Source One and the so-called Supreme

reserve held by Source One.

       10.     Approval of the Settlement Agreement is in the best interests of the Estate, in

light of the appellate litigation fees and expenses to be avoided through the settlement, and the
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avoidance of contest over validity of the Judgment in such an appeal, avoided through the

settlement. Approval of the settlement will resolve, to the satisfaction of all parties, all claims

and issues pending between the parties, thereby eliminating both ongoing and future litigation.

       11.     Counsel to Rodriguez has reviewed this motion and assents to it.

       WHEREFORE,Trustee Desmond respectfully requests that the Court approve the

settlement set forth in the Settlement Stipulation attached as Exhibit A,and for such other and

further relief as this Court may deem just and appropriate.

       Respectfully submitted this 7~h day of May,2018.

                                               JOHN O. DESMOND
                                               CHAPTER 7 TRUSTEE OF ROMULO
                                               RODRIGUES-AGUTAR,

                                               By his Attorneys,
                                               RIEMER & BRAUNSTEIN LLP,

                                              /s/Mark W. Corner
                                              Alan L. Braunstein, BBO No. 546042
                                              Mark W.Corner, BBO No. 550156
                                              Riemer &Braunstein LLP
                                              Three Center Plaza
                                              Boston, Massachusetts 02108
                                              (617)523-9000
                                              mcornerCriemerlaw.com




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                               EXHIBIT A
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                              TOR THE DISTRICC aF
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                                         EASTERN Dl~'1SId~3

    in Rei`~
   ROIotUi.O A. RODRIGUES                                  Case No. IS-12G4Q('~iSH)
                                -AGL~I.AR,
          __,_ Debror                ___^ ~                Chapter 7

                                    SETTLEMENT STIPULAT
                                                                         ION
             John O. Desmond. Chapter 7's
                                         rustee pf Komulo A. Rodrigues
                                                                               -Aguiar (the'`~'rusrer')
  anJ Keila ~4aria Rodriguez("R
                                   cxirigucz') hereby enter into
                                                                    dais Settlement Stipulation this 5th
  dap of ~4a}°. 2018.


                                                  RECITAL
  The ptuties to this Stipulation believ
                                        e the folio«in~ facts to be true
                                                                           and correct to the best of thei
                                                                                                           r
 knowledge. information and belief.

                  John U. Desmond is die duh• app
                                                      ointed Chapter 7 Trustce of the ban
                                                                                           kruptcy
 estate of Debtor Romulo Rodrig
                                   ues-Aguiar(the `'Debtor").
         2.       Rodriguez is an individual residi
                                                     ng in Lynn, hlassachasetts.
        3.        The Debtor «gas the owt~er and operat
                                                          or ofSupreme Cars, inc.(`Supreme
                                                                                                "),a
 Massachusetts corporation which oti~
                                           ned and operated a uszd car busine
                                                                               ss in Everett
Massachusetts.

        4.       On or about June 12,2015. Rodriguez and
                                                                the Debtor, and Yuridauia Suero
('Suero')entered into a Business Purcha
                                             sz Agreement(the `:Agreement') wit
                                                                                     h the llebtor. The
Agreement ~ti~as drifted b}°Attorney° llanil
                                               o Block, «ho purported to represent
                                                                                     all parties to the
transaction, ~~~ithout, among other things, dis
                                                 closure or ~~ai~~ers.




                                                                                    1~'
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              5.      Pursuant to the terms ofthe
                                                     Agreement, Rodrigue2 and Sue
                                                                                     ro ~~•erc to purchase,
   and the Debtor etas to sell, the
                                       Debtors capital stock in Suprem
                                                                         e to Rodriguez and Sueto.
           6.        Pursuant to the terms ofthe
                                                     A~rcement, the consideration
                                                                                    f'or the purchase of the
   Debtor's stock in Suprzme «~as the
                                           total payment of 5781,000, con
                                                                            sisting of5125,000 to be paid
   in cash to the Debtor, and ~+-ith
                                       Rodriguez and Suero assuming and
                                                                             to make payment ofthe
  corporate debts of Supreme,in the
                                          amount of5656,000 .vhicl~ obl
                                                                            igations Isere guaranteed by
  the Debtor pursuant to personal
                                       guarantees.
                    l~ollo«in~ execution ol'thc Agreem
                                                          ent. Sucro. together ~~~th a fomler
                                                                                                ke}
  employee of Supreme, allegedly beg
                                           an operating the used car sale
                                                                            business of Supreme as
 "Prestige Cars_ lnc.;'opening rno
                                         locations utilizing Supreme's assets.
         8.         Neither the Debtor nor the Estate
                                                        received thz fu11 cash consideratio
                                                                                            n required
 under the Agreement.

         9.        Rodri~,uez and Suero allegedly did not
                                                             assume the corporate debt of Suprem
                                                                                                      e that
 was to hay e been assigned to them as con
                                              sideration for the purohase of the sta
                                                                                       rk of Supreme,as
a result of ~~hich the Debtor remained
                                           liable to guarantee the corporate debts
                                                                                     ofSupreme.
        10.        On or about July 2,ZOl ~,the !)cbl~r Pile
                                                              d for relief under Chapter 7 of the United
Slates Bankruptcy Code.

        11.        Fach ofSupremo's corporate creditors file
                                                                d Proofs of Claim against the Debtor,
pursuant to his guarantee ofsuch corporate
                                                debt. After the Trustee s rzvie~~• of the cla
                                                                                              ims file   d in
the case, it appears that not a single payment fro
                                                       m Rodriguez or Suero had or leas been made
                                                                                                       to
an}' of Supremo's creditors.




                                                                                         l:
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                 12.      On March 29, 201 G, Rodrig
                                                      uez fdecl a Proof of Claim
                                                                                    in the Debtor's bankruptc
                                                                                                                   y,
    in the amount of5200,000.
                              0.         The "i~rustee objected to such
                                                                          claim on ~fazcli 23, 2017,
                                                                                                         and the
    Court, after a hearing themon
                                  ,     disallo~+ed such claun by orde
                                                                          r datzd Apri15, 2017.
             13.         On May 22,2017, Rodriguez
                                                       attempted to file an.4me~ded Yro
                                                                                               ofof Claim in the
   amount of$618,228.17 and sought
                                            reconsideration of the Court's
                                                                               disallo«~ance ofthe claim
   under Aankniptc}° Rule 3008. By
                                   order dated Junc 20, 2016, the
                                                                              Court disallowed Kodriguez-
   amended claim and denied her
                                motion for reconsideration.
            14.         On Jule 5.2017. Rodriguez. appeal
                                                            ed die Ban}:ruptcr CourCs disa
                                                                                               lloc~~ance of her
  Proof of(:laim, and to the Amende
                                           d Provfof Claim, to the Bankrupt
                                                                                 c~~ Appellate Panel for file
  First Circuit(the "BAP"). The BAP
                                    Appeal remains pending.
           1 ~.        Rodriguez and the Trustee «~ish to reso
                                                                 h~e all claims asserted by the Trus
                                                                                                     tee
  against Rodriguez, including an Adversary°
                                                    Proceeding the Trustee is prepared to
                                                                                                file aeainst
 Kexlriguez~ for money damages and bre
                                       ach ofthe Agreement, and all cla               ims against the Trustee
 in the Estate asserted by Rodriguez incl
                                                uding all claims pending in :uip Coun,
                                                                                      including the
 appeal.

           16.         Rodriguez represents, and the Truste
                                                             e after in~•esligation has determined, that
 Rodri~~ez isjudgment proof as a result of.
                                                   among other thins, having borrowed all of
                                                                                                      the
 monies from friends and relati~'cs in connectio
                                                       n ~4ith the transaction in ~4hich she was def
                                                                                                        rauded
b~~ Suero and Suero's business partner ~ti~l~o availed the
                                                                 msehcs of 5uprznte's business assets.
The Trustee further believes that he ~~~ould
                                                  not likely collect a jud~nent obtained against
Rodriguez if'he were successful in prosecuting
                                                       the claims raised in the Adversary Proceedin
                                                                                                             g



~ The Tnutee kill Ix filing an Advcrsaq~ I'rocezding :3eai
A~meement_                                                 nst Suzro seeking mon~~ damages for brexh ofthe




                                                                                               ~~
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     against her. Additionally,dur
                                   ing negoti   ations Rodriguez revealed
                                                                               substantial infom~ation
    regarding claims against
                                Suero and others ~~~hich may
                                                               bz collectible.

                                                AG1tEEDtE~IT
                NO~V, THEREI'ORF'.,
                                      Rodri~vez and the "fru,tee her
                                                                     eby agree as Follo«s:
                      Upon execution of this Settle
                                                    ment Agreement, the Trustee,
                                                                                     shall file a motion to
   appro~•e this Agreement pur
                                  suant to Ped. R. Bankr. 901
                                                               9. 1~his Settlement Agreement
                                                                                                     is
   espressh~ subject to approv
                                 al of and conditioned upon appro~
                                                                   -al b~• the Bankru    pts}• Court, and its
   terms shall be cull and Enid and
                                       of na efTect ifthe Bankruptcy
                                                                       Court does not approve thi
                                                                                                 s
  sa:iAement.

           2.        Upon appro~°al of this Agreement
                                                        b~• the i3ankruptc~- Court, Rod
                                                                                         riguez hereb}~
  retea~zs the Trustee and the Estate
                                        from all claims that she has, had
                                                                             of may have had against the
  Estate or the llebtor, anJ ~caive
                                    s and «•ithdra«•s an}• such claims
                                                                       .
           3.       Upon appro~~al oP this Agreement
                                                        by the Bankruptcy Court, Rodrig
                                                                                            uez ~~ill direct
 her counsel to dismiss the pen
                                  ding appeal at the BAP.
          4.        upon apQroval of this Agreement
                                                       b}° the Bankruptcy Court, Rodrigues
                                                                                                slwll be
 deemed to ha~~e assigned to the Tru
                                     stee   any and all rights that she has in
                                                                                 Supreme's stock,
including any or other claims agains
                                        t of rights to interests in anv succes
                                                                                sor corporation and/or i4ti
assets.

          5.       Upon approval of this ?lgrcement
                                                       b}' the Bankruptcy Cotvt, the Truste
                                                                                           e
dischazges and Yeleases Rodriguez fro
                                          m any claims ~~-hich the Estate has,
                                                                                  had or may have had
against her, execute mutual releases,
                                        releases from all claims that ~~ere or
                                                                                  could hare been raised
in convection with hzr alleged breach ofdie
                                            Agreement,knonn or             unl:uo~tiz~, waives and
withdra~l~s any such claims, and cov
                                       enants and agrees not to file suit agauut
                                                                                    her at any time in




                                                   ~
                                                                                            K~
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    the future azising therefore, exc
                                        ept in the event an}~ statement
                                                                       s made to or relied upon bc•
                                                                                                           the
    "I~rustee were kno~tiingly false.

              G.      Lipon appro~•al of this A~rezment
                                                           by the Bankruptcy Court, Rod
                                                                                              riguez assigns to
    the 'trustee(a) all claims that she
                                          has, had or may have had aga
                                                                          inst Suzro, under the Agreem
                                                                                                             ent
   or otherwise;(b)ail claims that
                                        she hac, had or may hnve had aga
                                                                            inst llanilo Brack,or
   altemati~~ely° the proceeds of:uiy cla
                                            im that Rodriguez ma; bring aga
                                                                                 inst Brack, at the'frustee°s
   option. Rodriguez agrees that the
                                     Trustee      m:~}• prosecute such claims, and may eng
                                                                                           age counsel
   to prosecute such claims bi his disc
                                       retion. and at his election: as Del
                                                                              l as all claims against
  Supreme. including transfer ofasse
                                          ts to Suero,John \4_ Figuereo.
                                                                            Platinum Cars,Inc. or amp
  related person or im~olved by Sup
                                         reme or Platinum; all claims aga
                                                                          ins    t Auto t?se;. Inc. or at~"iliate
  or such othzr act lender or dealer
                                        in coimection ~+ith any claim jor
                                                                            overpayment and!or usnrrv:
  and claims relating to tracing of the
                                          funds she advanczd to the Llebtor und
                                                                                      er tl~eon• of or related
 to constructive vast, or any other applic
                                              able cause of action (collecuvel~~
                                                                                     the `:AiTirmativc
 Claims").

         7.        To the eetent that the 7"rustee see
                                                        ks to prosecute claims aeaiast Bra
                                                                                               ck and~or
 Suero> or aay other person based upon
                                             kno~r•]edge that Rodriguez msy posses
                                                                                         s, Kodriguez ~v~ll
 cooperate full• ~3~th the Trustee, and
                                           specifically «ill assist couasel in
                                                                                 anp investigation, appear
and tesUf}' voluntaril~~ at a deposition
                                           of an}° other proceeding, ~~ithout the
                                                                                      requirement of a
subpoena_

        8.         Any fiords recovered by the Tmstee
                                                          shall be lust offset against any monies
                                                                                                        owed
to the Lstate b} Rodriguez,and Kodriguez
                                                shall themafter reccitie fifteen percent
                                                                                        (15%)ofthe
net recovcr~~ ofsucks claims b}' the Tru
                                        stee.




                                                    ~
                                                                                                ~1\
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           9.    In the event [fiat the'I'rustee Decides nut
                                                               to prosecute the aforementioned
 affirmative claims or claims related ther
                                           eto or othem~ise abandons them, the clai
                                                                                       ms shall reti-ert
 ro Rodriguez.

           GXF.CUTEll as an instrument under
                                                   seal this~day of 6fa}•,2018.



JOI-I1~ 0.DESh4U~1D,CHAPTER 7"I~RUS
                                     TEL
OF RO~•1UTA A. RODRIGLTL•.S-ACUTA
                                  R.


John        esmond
                                ~~~(~Keif,                                                       —
                                          ~R


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                       UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

In re:
                                                     Case No. 15-12640(MSH)
ROMULO RODRIGUES-AGUTAR                              Chapter 7

                               Debtor


                              CERTIFICATE OF SERVICE

        I, Mazk W. Corner, with the law firm of Riemer &Braunstein LLP, hereby certify that I
caused to be served on May 7, 2018, a true and accurate copy of the CHAPTER 7 TRUSTEE'S
MOTION TO APPROVE SETTLEMENT,by first class United States mail, postage pre-paid,
or by electronic notification(EN) where indicated, to the individuals listed below:


Office of the United States Trustee
J.W. McCormack Post Office &Courthouse
5 Post Office Square, 10~n Floor, Suite 1000
Boston, MA 02109
USTPReCionO1.BO.ECF@USDOJ.GOV (EN)

John O. Desmond
5 Edgell Road, Suite 30A
Framingham, MA 01701
trustee@jdesmond.com,jdesmond@ecf.e~gsystems.com(EN)

James Hayes, Esq.
James Hayes and Associates
82 Otis Street
Cambridge, MA 02141
james.ace@comcast.net(EN)

Romulo A Rodrigues-Aguiar
19 One Salem Street
Swampscott, MA 01907

David G. Baker
236 Huntington Avenue, Ste. 306
Boston, MA 02115
bkecf@bostonbankruptc~~;ecf@bostonbankruptcv.org(EN)
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Laura White Brandow, Esq.
Marcus Errico Emmer &Brooks,PC
45 Braintree Hill Park, Suite 107
Braintree, MA 02184
lbrandow@meeb.com(EN)

Alexander L. Cataldo
Alexander L. Cataldo, P.C.
2 Oliver Street, Suite 302
Boston, MA 02110
cataldolaw@outlook.com, cataldoalexanderl @¢mail.com(EN)

Jason Giguere, Esq.
Richard T. Mulligan, Esq.
Harmon Law Offices, P.C.
P.O. Box 610389
Newton Highlands, MA 02461
mabk@harmonlaw.com;j~euere@ecf.courtdrive.com; rmulli~an@ecf.courtdrive.com (EN)

Michael Grant, Esq.
LeClair Ryan, P.C.
One International Place, 11th Floor
Boston, MA 02110
michael.erant@leclairryan.com(EN)

Bill N. Jacob, Esq.
805 Turnpike Street, Ste 201
North Andover, MA 01845
bnjlaw@hotmail.com(EN)

William L. Maher, Esq.
6 Beacon St.
Suite 515
Boston, MA 02108

James J. McNulty
40 Court Street, Suite 1150
Boston, MA 02108
pm@,jjmcnultvlaw.com(EN)

Christopher S. Tolley
Phillips & Angley
One Bowdoin Square
Boston, MA 02114
ctolley@phillips-angley.com; moe@ghillips-anQley.com; moaner@mab.uscourts.gov (EN)
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Anthony L. Gray
Pollack & Flanders, L.L.P.
20 Park Plaza, Suite 605
Boston, MA 02116
tgra~pollackandflanders.com(EN)

William V. Sopp
Burns &Levinson LLP
125 Summer Street
Boston, MA 02110
wsop~@burnslev.com (via e-mail)

Recovery Management Systems Corporation
25 S.E. 2nd Avenue, Suite 1120
Miami,FL 33131




                                      /s/Mark W. Corner
                                      Alan L. Braunstein, BBO No. 546042
                                      Mark W. Corner, BBO No. 550156
                                      Riemer &Braunstein LLP
                                      Three Center Plaza
                                      Boston, Massachusetts 02108
                                      (617)523-9000
                                      mcorner@riemerlaw.com




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